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                                                                                         Pulaski County Circuit Court
                                                                                       Larry Crane, Circuit/County Clerk
                                                                                      2018-Jul-20 13:09:30
                                                                                         60CV-17-6345
               IN THE CIRCUIT COURT OF PULASKI COUNTY,                 ARKANS,.A'~~_C_OB_D_O_B_:4_4_P_a-=-ge_s_            __.
                                 SIXTH DIVISION

 PROPST PROPERTIES, LLC                                                                PLAINTIFF

 v.                                 CASE NO. 60CV-17-6345

 RASOOL MOHAMMAD; SELECT SANDS
 AMERICA CORPORATION;
 WESTBROOK WILLOW, LLC; and
 ZIGURDS VITOLS                                                                   DEFENDANTS


                                   AMENDED COMPLAINT

        Propst Properties, LLC, for its amended complaint against Rasool Mohammad, Select

Sands America Corporation, Westbrook Willow, LLC, and Zigurds Vitols, states:

                          PARTIES, JURISDICTION, AND VENUE

        1.     Propst Properties, LLC ("Propst") is a domestic limited liability company licensed

to do business in the State of Arkansas, with its principal place of business located in Black Rock,

Lawrence County, Arkansas.

       2.      Rasool Mohammad ("Mohammad") is an individual and a foreign citizen residing

in Vancouver, British Columbia, Canada. Mohammad has extensive personal contacts with the

State of Arkansas through his operation of Select Sands America Corporation and its subsidiaries,

subdivisions, and affiliates, and for the reasons set forth below.

       3.      Select Sands America Corporation is a foreign for-profit corporation, licensed to

do business in the State of Arkansas, with its principal place of business located in Vancouver,

British Columbia, Canada. Select Sands America Corporation has extensive personal contacts

with the State of Arkansas for the reasons set forth below. Select Sands America Corporation may

be served through The Corporation Company, its registered agent for service of process.



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       4.      Westbrook Willow, LLC ("Westbrook") is a foreign limited liability company

licensed to do business in the State of Texas, with its principal place of business located in

Houston, Harris County, Texas. Westbrook has extensive personal contacts with the State of

Arkansas for the reasons set forth below. Westbrook may be served through its counsel of record.

       5.      Zigurds Vitols ("Vitols") is an individual residing in Houston, Harris County,

Texas. Vitols has extensive personal contacts with the State of Arkansas through his employment

with and operation of Select Sands America Corporation and its subdivisions, subsidiaries, and

affiliates, through his operation of Westbrook, and for the reasons set forth below.

       6.      This Court has jurisdiction over the parties to and the subject matter of this litigation

pursuant to Arkansas Code Annotated§§ 16-4-101 and 16-58-120.

       7.      Propst and Westbrook have agreed that venue is proper in this Court.                 See

Consultant Agreement ,r 9, attached hereto and incorporated herein as Exhibit 1.

       8.      Venue is therefore proper in this Court as to Mohammad, Select Sands America

Corporation, and Vitols pursuant to Arkansas Code Annotated§ 16-60-lOl(e).

                                              FACTS

       9.      Propst is engaged in the frac-sand and frac-proppant industries. Specifically, Propst

owns real property in Lawrence County, Arkansas. The real property Propst owns allows for the

placement of plants that process refined sand and limestone, and includes the necessary water,

utility, and railway connections that allow for these processing plants to become operational.

       10.     Propst leases the real property that it owns to sand processors, who use the

processing plants to refine the sand or limestone either mined from Propst' s property or shipped




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to the processing plants located on Propst's property from other mines. The refined sand or

limestone is then shipped to customers for use in the hydraulic fracturing, or "fracking," industry.

        11.    In the summer of 2014, Propst entered into a lease agreement with American Silica,

LLC ("American Silica"), a sand processor.

        12.    Pursuant to that lease, Propst leased real property in Lawrence County to American

Silica to build a processing plant.

        13.    After entering its lease with American Silica, Propst recognized a business

opportunity to lease its remaining property in Lawrence County to other sand processors because

it has the necessary lot space and the necessary water, utility, and railway connections to make

additional processing plants operational and economically viable.

        14.    Propst estimated that its remaining property could hold up to four additional

processing plants.

        15.    Propst, however, lacked the necessary market expertise and connections within the

marketplace to market and lease its property on its own.

        16.    On or before August 7, 2014, Propst began discussions with ZIGURDS VITOLS

with the intention of entering into a consulting agreement with his company, WESTBROOK, so

he could bring Propst lessors like American Silica.

       17.     Vitals represented to Propst that he was uniquely qualified for this consulting

relationship because he previously worked for Martin Marietta, another sand processor, and

claimed to have extensive contacts in the sand-processing industry.

       18.     Vito ls also represented to Propst that he took early retirement from Martin Marietta.




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        19.     In truth and in fact, however, Vitols was terminated from Martin Marietta, and

Vitols never corrected his previous representation to Propst that he took early retirement.

        20.     On August 7, 2014, Propst entered into a Consultant Agreement (the "Propst

Agreement") with Westbrook. See Ex. I.

        21.     Pursuant to the Propst Agreement, Westbrook "provides consulting, advising,

negotiation, and other services to frac proppant businesses." Ex. 1 at Preamble.

        22.     Pursuant to the Propst Agreement, Propst "desires to engage [Westbrook] and

[Westbrook] desires to be engaged in the provision of certain consulting, advising, negotiation,

and other related services to [Propst]." Ex. 1 at Preamble.

        23.     Pursuant to the Propst Agreement, Propst retained Westbrook "to advise, negotiate,

and provide other services related to the frac proppant business in and around Lawrence County,

Arkansas, as reasonably requested by [Propst] (the 'Consulting Services')." Ex. 1 ,r I.

        24.     Pursuant to the Propst Agreement, and "[i]n consideration for providing the

Consulting Services," Propst agreed to pay Westbrook an hourly rate for its services on a monthly

basis, but in any event the monthly payments to Westbrook would not be less than two thousand

dollars. Ex. 1 ,r 2(a).

        25.     Pursuant to the Propst Agreement, and "[i]n consideration for providing the

Consulting Services," Propst agreed to pay Westbrook "a ten percent (10%) commission on all

gross revenues and income received by [Propst] related to its frac proppant business in Lawrence

County, Arkansas, as it currently exists or may be modified in the future [if Propst] receive[d]

monthly gross income in excess of twenty thousand dollars ($20,000)." Ex. 1 ,r 2(a), (b).




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       26.      Shortly after the Propst Agreement was signed, Propst specifically asked Vito ls to

try and obtain business from La Ronge Gold Corporation.

       27.      La Ronge Gold Corporation subsequently changed its name to Select Sands

America Corporation in November 2014. For the purposes of this amended complaint, La Ronge

Corporation and Select Sands America Corporation are collectively referred to as "SELECT

SANDS."

       28.      Propst also specifically asked Vito ls to try and obtain business from Lehigh Hanson

("Hanson") and Cemex.

       29.      Despite these express instructions and the Propst Agreement's express provision

that Westbrook "advise, negotiate, and provide other services related to the frac proppant business

... as reasonably requested by [Propst,]" Westbrook primarily sought to obtain business only from

Select Sands.

       30.      Vitols had a prior relationship with MOHAMMAD, who in 2014 was Select Sands'

President and Chief Executive Officer.

       31.      While President and Chief Executive Officer, and before Westbrook entered into

the Propst Agreement, Propst contacted Mohammad to solicit him to lease the real property

eventually leased to American Silica.

       32.      Mohammad declined to lease the property from Propst at that time, but later and

after the Propst Agreement was executed, he represented to Propst, through Vitols and Westbrook,

that Select Sands was interested in leasing the remaining property from Propst.




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       33.     In truth and in fact, however, neither Mohammad nor Select Sands had any

intention of leasing property from Propst, and neither Mohammad, Select Sands, Vitals, nor

Westbrook corrected their previous representations to Propst that they were.

       34.     Instead, Mohmmad and Select Sands endeavored, with Vitols's and Westbrook's

assistance, to use these misrepresentations and Vitols's and Westbrook's relationships with Propst

to gain confidential, proprietary information about Propst's property and business to directly

compete with Propst.

       35.     Mohammad and Select Sands also endeavored, with Westbrook's and Vitols's

assistance, to use these representations and Vitols's and Westbrook's relationships with Propst to

prevent other sand processors from leasing property owned by Propst until Select Sands could

acquire competing properties of its own that it would lease to sand processors.

       36.     Vitals and Westbrook knowingly and willfully assisted Mohammad and Select

Sands in these endeavors.

       37.     Vitals and Westbrook spent several months after the Propst Agreement was signed

encouraging Propst to pursue a lease agreement only with Select Sands.

       38.     Vitals and Westbrook only offered token assistance in helping Propst obtain leases

from Hanson and Cemex.

       39.     And Vitals and Westbrook offered no assistance in helping Propst obtain leases

from any other sand processors.

       40.     In October and November 2014, moreover, Vitals engaged in extensive

negotiations with Mohammad to obtain a position on Select Sands' board of directors.




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       41.     Mohammad told Vitols during these negotiations that his position on the board of

directors would help Select Sands advance its project to own competing properties and establish a

competing business to Propst's in the United States and Arkansas.

       42.     Mohammad also told Vitols during these negotiations that his position on the board

of directors would eventually lead to a full-time, salaried position as Select Sands' Chief Operating

Officer once the project proceeded to its advanced stages.

       43.     On December 3, 2014, Vitols was appointed to Select Sands' board of directors.

See Press Release, attached hereto and incorporated herein as Exhibit 2.

       44.     In an effort to conceal the true nature of their actions from Propst, Vitols and

Westbrook, with Mohammad's and Select Sands' knowledge and consent, assured Propst that

Vitols's directorship would not interfere or in any way prohibit Westbrook from performing the

Propst Agreement's terms.

       45.     Also in an effort to conceal the true nature of their actions from Propst, Vitols and

Westbrook, with Mohammad's and Select Sands' knowledge and consent, deliberately concealed

the fact that Vitols's appointment to Select Sands' board of directors would eventually lead to a

full-time, salaried position as Select Sands' Chief Operating Officer.

       46.     Relying on these material misrepresentations and concealments, Propst continued

to pay Westbrook pursuant to the Propst Agreement.

       47.     On July 21, 2015, Vitols was appointed as Select Sands' Chief Operating Officer.

See Press Release, attached hereto and incorporated herein as Exhibit 3.




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       48.     In an effort to conceal the true nature of their actions from Propst, Vitols and

Westbrook, with Mohammad's and Select Sands' knowledge and consent, knowingly and willfully

refused to notify Propst that Vitols accepted a position as Select Sands' Chief Operating Officer.

       49.




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       53.




       54.




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       55.




-      56.     On or around October 5, 2016, Select Sands entered into a binding agreement (the

"OPS Agreement") with Tutle Holding, LLC and Steve Hackman, Ozark Premium Sand, LLC

(collectively, "Ozark Premium Sand"). See "Select Sands Agrees to Deal with Ozark Premium

Sand," RockProducts (Oct. 5, 2016), attached hereto and incorporated herein as Exhibit 5.

       57.     Pursuant to the OPS Agreement, American Select Corporation ("American

Select"), Select Sands' wholly owned subsidiary, holds the option to purchase "a 26-acre fully

operational drying facility with storage located within 50 miles of Select Sands' quarry in

Arkansas. The 26-acre facility is located on the Union Pacific Rail Line." Id

       58.     If American Select exercises the option, Select Sands would be ''transform[ ed] ...

into a fully integrated, self-sufficient Tier I sand producer with capacity to process more than

600,000 [tons per year] with an excellent logistics and storage advantage[.]" Id

       59.     "In addition, the facility [could] be easily expanded to increase the amount of sand

that can be processed." Id.

       60.     Mohammad praised the agreement upon its announcement, stating, "'[Select

Sands'] timing to become a new supplier of high-purity, finer mesh sand couldn't come at a better

time for our shareholders."' Id




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        61.     In truth and in fact, however, Mohammad and Select Sands were notified by Vitols

and Westbrook in June 2015, at the latest, that the property owned by Ozark Premium Sand was

inferior to Propst's property.

       62.      Notwithstanding, Mohammad and Select Sands, with Vitols's and Westbrook's

assistance, proceeded to enter into the OPS Agreement with the specific purpose of becoming

Propst's direct competitor.

       63.      Upon the OPS Agreement's execution, Select Sands became Propst's direct

competitor because it now possesses an option through American Select, a wholly owned

subsidiary, to purchase a fully operational processing facility within close proximity to sand and

limestone mines and with the necessary water, utility, and railway access to allow the facility to

remain operational and economically viable.

       64.      Select Sands therefore has an interest in leasing the facility to sand processors and

competes with Propst for these potential lessees.

       65.      Any lessee brought by Westbrook to Propst would also be Select Sands' direct

competitor.

       66.      Because American Select, Select Sands' wholly owned subsidiary, possesses an

option to purchase a fully operational facility, Select Sands has an interest in ensuring that only

American Silica leases real property from Propst and that any other sand processors lease real

property from Select Sands.

       67.      On or around December 23, 2016, Vitols was appointed to be Select Sands'

President and Chief Executive Officer. See Press Release, attached hereto and incorporated herein

as Exhibit 6.


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       68.    The same day, Mohammad was announced as Select Sands' Chief Operating

Officer and American Select's President and Chief Executive Officer. See id.

       69.    In an effort to conceal the true nature of their actions from Propst, Vitols and

Westbrook, with Mohammad's and Select Sands' knowledge and consent, knowingly and willfully

refused to notify Propst that Vitols accepted positions as Select Sands' President and Chief

Executive Officer.

       70.




       71.




       72.




-      73.




       74.




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        75.      Vitols's assistance to Select Sands and his acceptance of positions as Select Sands'

Chief Operating Officer and, later, as its President and Chief Executive Officer while the Propst

Agreement remained in full force and effect were blatant conflicts of interest.

        76.      Vitols's assistance to Select Sands

                             while the Propst Agreement remained in full force and effect were

blatant conflicts of interest.

        77.      Westbrook's assistance to Select Sands

-             while the Propst Agreement remained in full force and effect were blatant conflicts of

interest.

        78.      And Vitols's and Westbrook's assistance to Select Sands and their participation in

Select Sands' acceptance of the OPS Agreement while the Propst Agreement remained in full force

and effect were blatant conflicts of interest.

        79.      Mohammad and Select Sands were aware of the Propst Agreement and proceeded

to invite and entice Vito ls to assist Select Sands, accept positions as Select Sands' Chief Operating

Officer and, later, as its President and Chief Executive Officer

                                    to Propst' s detriment.

        80.      Mohammad and Select Sands, aware of the Propst Agreement, proceeded to invite

and entice Westbrook to assist Select Sands                                               to Propst's

detriment.

        81.      And Mohammad and Select Sands, aware of the Propst Agreement, proceeded to

invite and entice Vitols and Westbrook to assist Select Sands and participate in Select Sands'

acceptance of the OPS Agreement to Propst's detriment.


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       82.     Westbrook cannot possibly perform the Propst Agreement because Select Sands is

Propst's direct competitor, Vito ls accepted positions as Select Sands' Chief Operating Officer and,

later, as its President and Chief Executive Officer,



       83.     Westbrook also cannot possibly perform the Propst Agreement because Select

Sands is Propst's direct competitor



-      84.     Westbrook cannot direct business from Select Sands to Propst because that would

breach Vitols's fiduciary duties to Select Sands



-      85.     Westbrook cannot direct business from Hanson or Cemex to Propst because that

would breach Vitols's fiduciary duties to Select Sands



       86.     And Westbrook cannot direct business from any other sand processors to Propst

because that would breach Vito ls' s fiduciary duties to Select Sands



       87.     It was incumbent on Vitols and Westbrook to inform Propst of Vitols's positions

of employment with Select Sands,

                              and the fact that Westbrook was no longer able to perform the Propst

Agreement's basic objectives, but Vitols and Westbrook failed to do so.

       88.     It was incumbent on Mohammad and Select Sands, with full knowledge of the

Propst Agreement, to not do anything that would improperly interfere with the Propst Agreement,


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but Mohammad and Select Sands proceeded to invite and entice Vitols to accept positions of

employment with Select Sands,

                                 that made Westbrook's performance of the Propst Agreement

impossible.

        89.    As of the date of this filing, Propst has paid Westbrook $91,000.00 pursuant to the

Agreement.

        90.    Westbrook accepted these money payments without objection or hesitation.

Westbrook, moreover, failed to take the opportunity upon receipt of money payments to disclose

Vitols's new employment with Select Sands (or his negotiations with Mohammad regarding this

employment),                                                                             or the fact

that Westbrook's performance of the Propst Agreement was impossible.

        91.    Instead, on a January 2017 telephone call with Paul Propst, after receiving the

December 2016 payment from Propst, Vitols said, "I don't feel like I've done anything to deserve

this." Notwithstanding, Westbrook neither returned any portions of the money payments it

received nor offered to do so.

        92.    Propst's money payments do not include continuing amounts that will become due

and payable pursuant to the Propst Agreement. See Ex. I.

        93.    As of the date of this filing, Westbrook has not returned any of the money payments

it received.

        94.    Also as of the date of this filing, Westbrook has not provided Propst with any viable

business opportunities from Select Sands, Hanson, Cemex, or any other sand processors, despite




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the Propst Agreement's express provisions to do so and Vitols's and Westbrook's express

representations to Propst that they would.

       95.     Mohammad, Select Sands, Vitols, and Westbrook knew that Propst leased some of

the real property that it owned to American Silica to build a processing plant.

       96.     Mohammad, Select Sands, Vitols, and Westbrook knew American Silica's

processing plant was operational and economically viable.

       97.     Mohammad, Select Sands, Vitols, and Westbrook knew that Propst held valid and

recognizable prospective business relationships with other sand processors, such as Hanson and

Cemex, because it had the necessary lot space and the necessary railway connections to make

additional processing plants operational and economically viable.

       98.     Mohammad, Select Sands, Vitols, and Westbrook knew that Propst expected to

lease its property to four additional sand processors.

       99.     Mohammad, Select Sands, Vitols, and Westbrook knew that Propst was actively

engaged in obtaining additional sand-processor lessees for its property.

        100.   Mohammad, Select Sands, Vitols, and Westbrook knew that Propst specifically

contracted with Westbrook to obtain additional sand-processor lessees through Vitols's claimed

extensive contacts in the sand-processing industry.

        101.   And Mohammad, Select Sands, Vitols, and Westbrook were aware in June 2015, at

the latest, that Propst's property was superior to other sites in Arkansas that were available to sand

processors, including Ozark Premium Sands'.




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          102.   Notwithstanding this knowledge, Mohammad, Select Sands, Vito ls, and Westbrook

knowingly and willfully participated in a scheme to deprive Propst of the sand-processor lessees

it expected through fraudulent, deceptive, and improper means.

          103.   By way of example only, Mohammad and Select Sands, by themselves and through

Vitols and Westbrook with their knowledge and consent, misrepresented to Propst that Select

Sands was interested in leasing Propst's remaining property.

          104.   In truth and in fact, however, Mohammad, Select Sands, Vitols, and Westbrook

endeavored to use these misrepresentations to gain confidential, proprietary information from

Propst.

          105.   Vitols and Westbrook, with Mohammad's and Select Sands' knowledge and

consent, encouraged Propst to pursue a lease agreement only with Select Sands.

          106.   Mohammad, Select Sands, Vito ls, and Westbrook knowingly and willfully

concealed from Propst that Mohammad, Select Sands, and Vitols were negotiating for Vitols to

obtain positions of full-time employment with Select Sands.

          107.   Vitols and Westbrook, with Mohammad's and Select Sands' knowledge and

consent, misrepresented to Propst that Vitols's appointment to Select Sands' board or directors

would not interfere or in any way prohibit Westbrook from performing the Propst Agreement's

terms.

          108.   Mohmmad, Select Sands, Vitols, and Westbrook knowingly and willfully

concealed from Propst Vitols's appointment to positions of full-time employment with Select

Sands as its Chief Operating Officer and, later, as its President and Chief Executive Officer.




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       109.




       110.    Mohammad, Select Sands, Vitols, and Westbrook knowingly and willfully

concealed from Propst Vitols's and Westbrook's assistance and participation in Select Sands'

acceptance of the OPS Agreement.

       111.    Before and continuing after the OPS Agreement's execution, Vitols and Westbrook

knowingly and willfully misrepresented, with Mohammad's and Select Sands' knowledge and

consent, that Vitols and Westbrook were performing the Propst Agreement and were actively

soliciting and negotiating with other sand processors.

       112.    In truth and in fact, however, neither Vitols nor Westbrook engaged in any

meaningful efforts to obtain business for Propst from any other sand processors after Vitols

accepted a position as Select Sands' Chief Operating Officer.

       113.    As of the date of this filing, only American Select has leased property from Propst.

                                  COUNT I - CONSPIRACY

       I 14.   Propst incorporates paragraphs I through 113 by reference.

       115.    For the reasons set forth above and below, Select Sands and Westbrook, by

themselves and through Mohammad and Vitols, combined to accomplish purposes that are

unlawful and oppressive.

       116.    In the alternative to paragraph 115, and for the reasons set forth above and below,

Select Sands and Westbrook, by themselves and through Mohammad and Vitols, combined to




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accomplish purposes, not in themselves unlawful, oppressive, or immoral, but through unlawful,

oppressive, or immoral means.

        117.   By way of example only, Westbrook, by itself and through Vitols, with

Mohammad's and Select Sands' knowledge and consent, knowingly and willfully breached its

fiduciary duties to Propst.

        118.   Westbrook, by itself and through Vitols, with Mohammad's and Select Sands'

knowledge and consent, knowingly and willfully breached the Propst Agreement.

        119.   Westbrook, by itself and through Vitols, with Mohammad's and Select Sands'

knowledge and consent, knowingly, willfully, and unjustly enriched itself at Propst' s expense.

        120.   Westbrook, through Vitols, and with Mohammad's and Select Sands' knowledge

and consent, knowingly and willfully made material misrepresentations and omissions of fact to

Propst, before and after the Propst Agreement was signed, for the purposes of inducing Propst to

enter into the Propst Agreement, to continue to make payments to Westbrook pursuant to the Propst

Agreement, to gain confidential, proprietary information about Propst's property and business, and

to prevent other sand processors from leasing property owned by Propst until Select Sands could

acquire competing properties of its own that it would lease to sand processors.

        121.   Select Sands, by itself and through Mohammad and Vitols, with Westbrook's

knowledge and consent, knowingly and willfully participated in a scheme to cause Westbrook to

breach the Propst Agreement.

       122.    And Select Sands and Westbrook, with Mohammad's and Vitols's assistance,

knowledge, and consent, knowingly and willfully participated in a scheme to deprive Propst of the

sand-processor lessees it expected through fraudulent, deceptive, and improper means.


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        123.       As a direct and proximate result of Select Sands' and Westbrook's acts committed

in furtherance of and pursuant to these schemes, Propst has been damaged in an amount to be

proven at the trial of this matter but in excess than that required for federal jurisdiction in diversity-

of-citizenship cases.

        124.       Select Sands' and Westbrook's actions were intentionally pursued for the purpose

of causing damage, Select Sands and Westbrook knew or should have known their conduct would

naturally and probably result in damage, and Select Sands and Westbrook carried on with malice

and in reckless disregard of the consequences.

        125.       Select Sands' and Westbrook's actions were also affirmative acts of concealment,

fraudulent, furtively planned, and secretly executed as to keep Propst's cause of action concealed.

        126.       In the alternative to paragraph 125, Select Sands' and Westbrook's actions were

perpetrated in such a way that they concealed themselves.

                          COUNT II - BREACH OF FIDUCIARY DUTY

        127.       Propst incorporates paragraphs 1 through 126 by reference.

        128.       At all relevant times and for the reasons set forth above, Westbrook acted as

Propst' s agent.

        129.       Pursuant to that agency relationship, Westbrook owed certain fiduciary duties to

Propst, including but not limited to fiduciary duties of utmost good faith and loyalty, to avoid

acting adversely to Propst's interests, to not acquire a private interest in opposition to Propst, and

to avoid self-dealing and conflicts of interest. See Cole v. Laws, 349 Ark. 177, 76 S.W.3d 878

(2002); Collins v. Heitman, 225 Ark. 666,284 S.W.2d 628 (1955); Yahrus v. Continental Oil Co.,

218 Ark. 872,239 S.W.2d 594 (1951).


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       130.    Westbrook, by itself and through Vitols, breached its fiduciary duties to Propst.

       131.    Westbrook misrepresented to Propst, before and after the Propst Agreement was

signed, that Vitols took early retirement from Martin Marietta when, in truth and in fact, Vitols

was terminated from Martin Marietta.

       132.    Westbrook misrepresented Select Sands' interest in leasing property from Propst

when, in truth and in fact, Westbrook knew Select Sands never had any intention of leasing

property from Propst, and that Select Sands and Westbrook endeavored to gain confidential,

proprietary information about Propst' s property to directly compete with Propst.

       133.    Westbrook misrepresented Select Sands' interest in leasing property from Propst

when, in truth and in fact, Select Sands and Westbrook endeavored to use these misrepresentations

to prevent other sand processors from leasing properties owned by Propst until Select Sands could

acquire competing properties of its own that it would lease to sand processors.

       134.    Notwithstanding, Westbrook encouraged Propst to pursue a lease agreement only

with Select Sands.

       135.    Westbrook only offered token assistance in helping Propst obtain leases from

Hanson and Cemex.

       136.    And Westbrook offered no assistance in helping Propst obtain leases from any other

sand processors.

       137.    Westbrook knowingly and willfully concealed from Propst Vitols's negotiations

with Mohammad and Select Sands for a full-time, salaried position with Select Sands that would

make its performance of the Propst Agreement impossible.




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       138.    Westbrook misrepresented to Propst that Vitols's appointment to Select Sands'

board of directors would neither interfere with nor prohibit its performance of the Propst

Agreement.

       139.    Westbrook allowed Vitols to accept positions of employment with Select Sands as

its Chief Operating Officer and, later, as its President and Chief Executive Officer when it knew

Vito ls' s acceptance of these positions of employment were blatant conflicts of interest and would

make its performance of the Propst Agreement impossible.

       140.    Westbrook knowingly and willfully concealed Vitols's acceptance of these

positions of employment and their inherent conflicts of interest from Propst.

       141.




       142.



       143.    Westbrook assisted and participated m Select Sands' acceptance of the OPS

Agreement.

       144.    Westbrook knowingly and willfully concealed its assistance and participation in

Select Sands' acceptance of the OPS Agreement from Propst.

       145.    Westbrook knowingly and willfully participated in a scheme to deprive Propst of

the sand-processor lessees it expected through fraudulent, deceptive, and improper means.




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        146.    Westbrook knowingly and willfully misrepresented to Propst that it was performing

the Propst Agreement and was actively soliciting and negotiating with other sand processors when,

in truth and in fact, Westbrook had not engaged in any meaningful efforts to obtain business for

Propst from any other sand processors after Vitols accepted a position as Select Sands' Chief

Operating Officer.

        14 7.   As a direct and proximate result of Westbrook's breaches of its fiduciary duties to

Propst, Propst has been damaged in an amount to be proven at the trial of this matter but in excess

than that required for federal jurisdiction in diversity-of-citizenship cases.

        148.    Westbrook's actions were intentionally pursued for the purpose of causing damage,

Westbrook knew or should have known its conduct would naturally and probably result in damage,

and Westbrook carried on with malice and in reckless disregard of the circumstances.

        149.    Westbrook's actions were also affirmative acts of concealment, fraudulent,

furtively planned, and secretly executed to keep Propst's cause of action concealed.

        150.    In the alternative to paragraph 149, Westbrook's actions were perpetrated in such a

way that they concealed themselves.

                           COUNT III- BREACH OF CONTRACT

        151.    Propst incorporates paragraphs 1 through 150 by reference.

        152.    Pursuant to the Propst Agreement, Westbrook "provides consulting, advising,

negotiation, and other services to frac proppant businesses." Ex. 1 at Preamble.

        153.    Pursuant to the Propst Agreement, Propst "desires to engage [Westbrook] and

[Westbrook] desires to be engaged in the provision of certain consulting, advising, negotiation,

and other related services to [Propst]." Ex. 1 at Preamble.


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         154.    Pursuant to the Propst Agreement, Westbrook agreed ''to advise, negotiate, and

provide other services related to the frac proppant business in and around Lawrence County,

Arkansas, as reasonably requested by [Propst] (the 'Consulting Services')." Ex. 1 ,r 1.

         155.    And pursuant to the Propst Agreement, Propst agreed to make money payments to

Westbrook "[i]n consideration for providing the Consulting Services." Ex. 1 ,r 2(a), (b).

         156.    Additionally, "[e]very contract imposes upon each party a duty of good faith and

fair dealing in its performance and its enforcement." West Memphis Adolescent Residential, LLC

v. Compton, 2010 Ark. App. 450, 5, 374 S.W.3d 922, 925. "Moreover, a party has an implied

obligation not to do anything that would prevent, hinder, or delay performance." Id. at 5-6, 374

S.W.3d at 925.

         157.    Propst performed its express obligations under the Propst Agreement, and has not

waived its right to insist upon full and complete performance of the Propst Agreement.

         158.    Propst performed its implied obligations under the Propst Agreement, and has not

engaged in any activity that prevented, hindered, or delayed either its or Westbrook's performance

of the Propst Agreement.

         159.    Westbrook, through Vitols, breached the Propst Agreement's express and implied

terms.

         160.    Westbrook misrepresented to Propst, before and after the Propst Agreement was

signed, that Vitols took early retirement from Martin Marietta when, in truth and in fact, Vitols

was terminated from Martin Marietta.

         161.   Propst specifically asked Westbrook to try and obtain business from Hanson,

Cemex, and other sand processors.


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       162.    Despite these express instructions and the Propst Agreement's express provision

that Westbrook "advise, negotiate, and provide other services related to the frac proppant business

... as reasonably requested by [Propst,]" Westbrook primarily sought to obtain business only from

Select Sands. Ex. 1 ,r 1.

       163.    Westbrook only offered token assistance in helping Propst obtain leases from

Hanson and Cemex.

       164.    And Westbrook offered no assistance in helping Propst obtain leases from any other

sand processors.

       165.    Westbrook, moreover, misrepresented Select Sands' interest in leasing property

from Propst when, in truth and in fact, Westbrook knew Select Sands never had any intention of

leasing property from Propst, and that Select Sands and Westbrook endeavored to gain

confidential, proprietary information about Propst's property to directly compete with Propst.

       166.    Westbrook also misrepresented Select Sands' interest in leasing property from

Propst when, in truth and in fact, Select Sands and Westbrook endeavored to use these

misrepresentations to prevent other sand processors from leasing properties owned by Propst until

Select Sands could acquire competing properties of its own that it would lease to sand processors.

       167.    Westbrook knowingly and willfully concealed Vitols's negotiations with

Mohammad and Select Sands for a full-time, salaried position with Select Sands that would make

its performance of the Propst Agreement impossible.

       168.    Westbrook misrepresented to Propst that Vitols's appointment to Select Sands'

board of directors would neither interfere with nor prohibit its performance of the Propst

Agreement.


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       169.    Westbrook allowed Vito ls to accept positions of employment with Select Sands as

its Chief Operating Officer and, later, as its President and Chief Executive Officer when it knew

Vitols's acceptance of these positions of employment were blatant conflicts of interest that would

make its performance of the Propst Agreement impossible.

       170.




       171.    Westbrook's performance of the Propst Agreement is impossible because it cannot

direct business from Select Sands, Hanson, Cemex, or any other sand processor because that would

breach Vitols's fiduciary duties to Select Sands

-             even though Propst, the Propst Agreement, and Propst' s instructions to Westbrook

specifically directed Westbrook to attempt to obtain business from Select Sands, Hanson, Cemex,

and other sand processors.

       172.    Notwithstanding, Westbrook continued to accept money payments from Propst

without objection or hesitation, and knowingly and willfully concealed Vitols's acceptance of

these positions of employment and their inherent conflicts of interest from Propst.

       173.



       174.




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        175.    Westbrook assisted and participated in Select Sands' acceptance of the OPS

Agreement to Propst's detriment.

        176.    Westbrook knowingly and willfully concealed its assistance and participation in

Select Sands' acceptance of the OPS Agreement from Propst.

        177.    Westbrook knowingly and willfully participated in a scheme to deprive Propst of

the sand-processor lessees it expected through fraudulent, deceptive, and improper means to

Propst' s detriment.

        178.    Westbrook knowingly and willfully misrepresented to Propst that it was performing

the Propst Agreement and was actively soliciting and negotiating with other sand processors when,

in truth and in fact, Westbrook had not engaged in any meaningful efforts to obtain business for

Propst from any other sand processors after Vitols accepted a position as Select Sands' Chief

Operating Officer.

        179.    Due to Westbrook's breaches of the Propst Agreement, Propst has been damaged

in an amount to be proven at the trial of this matter but in excess than that required for federal

jurisdiction in diversity-of-citizenship cases.

        180.    Propst is entitled to pre-judgment and post-judgment interest in the greatest amount

allowed by law.

        18 I.   Propst is entitled to its attorneys' fees and costs pursuant to Arkansas Code

Annotated § 16-22-308 and Arkansas Rule of Civil Procedure 54.




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                            COUNT IV - UNJUST ENRICHMENT

       182.    Propst incorporates paragraphs 1 through 181 by reference.

        183.   In return for money payments from Propst, Westbrook promised "to advise,

negotiate, and provide other services related to the frac proppant business in and around Lawrence

County, Arkansas, as reasonably requested by Propst." Ex. 1 ,r 1.

       184.    In return for money payments from Propst, Westbrook promised to make

reasonable efforts to obtain and secure business from Select Sands, Hanson, Cemex, and other

sand processors, as reasonably requested by Propst.

       185.    Propst, relying on Westbrook's promises, made money payments to Westbrook.

       186.    Westbrook refused to honor its promises to Propst to make reasonable efforts to

obtain and secure business for Propst from Select Sands, Hanson, Cemex, and other sand

processors, as specifically requested by Propst.

        187.   Westbrook has refused to honor its promises to Propst by allowing Vito ls to accept

positions of employment

               creating blatant conflicts of interest that makes Westbrook's performance of the

Propst Agreement impossible.

       188.




       189.    It is unjust for Westbrook to refuse to honor its promises to Propst.

       190.    It is unjust for Propst to have made money payments to Westbrook when Westbrook

refused to honor its promises to Propst.


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       191.    It is unjust for Westbrook to have accepted these money payments without

objection or hesitation, with full knowledge that it failed to honor its promises to Propst and that

it has allowed blatant conflicts of interest to arise that makes its performance of the Propst

Agreement impossible.

       192.    It is unjust for Westbrook to have accepted these money payments without

informing Propst about Vito ls' s acceptance of positions of employment with Select Sands -

                                                                          that makes Westbrook's

performance of the Propst Agreement impossible.

       193.




       194.    As a result of Westbrook's failure to honor its promises to Propst, Propst has

suffered damages in an amount to be proven at the trial of this matter but in excess than that

required for federal jurisdiction in diversity-of-citizenship cases, and including but not limited to

its money payments to Westbrook and its attorneys' fees and costs incurred in this action.

       195.    Westbrook's actions were also affirmative acts of concealment, fraudulent,

furtively planned, and secretly executed to keep Propst's cause of action concealed.

       196.    In the alternative to paragraph 195, Westbrook's actions were perpetrated in such a

way that they concealed themselves.




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                                       COUNT V - FRAUD

        I 97.   Propst incorporates paragraphs I through 196 by reference.

        198.    Vitols and Westbrook made false representations of fact to Propst.

        199.    Vitols and Westbrook also concealed material information from and failed to

disclose pertinent information to Propst.

       200.     Vitols and Westbrook falsely represented to Propst that Vito ls took early retirement

from Martin Marietta when, in truth and in fact, Vitols was terminated from Martin Marietta.

       201.     Vitols and Westbrook concealed and failed to disclose that Vitols engaged in

extensive negotiations with Select Sands in October and November 2014 to obtain a position on

Select Sands' board of directors that would eventually lead to a full-time, salaried position as Select

Sands' Chief Operating Officer.

       202.     Vitols and Westbrook falsely represented to Propst that Vitols's appointment to

Select Sands' board of directors would not interfere with or in any way prohibit Westbrook from

performing the Propst Agreement.

       203.     Vitols and Westbrook concealed and failed to disclose that Vitols accepted a

position of employment as Select Sands' Chief Operating Officer.

       204.     Vitols and Westbrook concealed and failed to disclose that Vitols accepted a

position of employment as Select Sands' President and Chief Executive Officer.

       205.




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       206.




-      207.    Vitols and Westbrook falsely represented to Propst that they were performing the

Propst Agreement and were actively soliciting and negotiating with other sand processors when,

in truth and in fact, neither Vitols nor Westbrook engaged in any meaningful efforts to obtain

business for Propst from any other sand processors after Vitols accepted a position as Select Sands'

Chief Operating Officer.

       208.    Vitols and Westbrook knew that their representations were false.

       209.    In the alternative to paragraph 208, Vitols and Westbrook knew that they did not

have a sufficient basis of information to make their representations.

       210.    Vitols and Westbrook intended to induce Propst to act or refrain from acting in

reliance upon their misrepresentations, concealments, and failures to disclose pertinent

information to Propst.

       211.    Vitols and Westbrook knew or should have known that Propst would not have

entered into the Propst Agreement, would have terminated the Propst Agreement for cause, and

would not have continued to make money payments to Westbrook pursuant to the Propst

Agreement if they informed Propst that Vitols was terminated from Martin Marietta.




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       212.    Vitols and Westbrook also knew or should have known that Propst would have

terminated the Propst Agreement for cause and would not have continued to make money

payments to Westbrook pursuant to the Propst Agreement if they informed Propst that:

               a.      Vitols was engaged in extensive negotiations with Select Sands in October

       and November 2014 to obtain a position on Select Sands' board of directors that would

       eventually lead to a full-time, salaried position as Select Sands' Chief Operating Officer;

               b.      Vitols's appointment to Select Sands' board of directors would interfere

       with and prohibit Westbrook from performing the Propst Agreement;

               c.      Vitols accepted positions of employment as Select Sands' Chief Operating

       Officer and, later, as its President and Chief Executive Officer;

               d.



               e.



       213.    Vitols and Westbrook also specifically intended to induce Propst to make money

payments pursuant to the Propst Agreement and to refrain from terminating the Propst Agreement

for cause by falsely representing to Propst that they were performing the Propst Agreement and

were actively soliciting and negotiating with other sand processors when, in truth and in fact, they

were not and had not since Vito ls accepted a position as Select Sands' Chief Operating Officer.

       214.    For the reasons set forth above, Propst justifiably relied on Vitols's and

Westbrook's misrepresentations, concealment of material facts, and nondisclosure of pertinent

information.


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        215.    As a direct and proximate result of Vitols's and Westbrook's frauds, Propst has

been damaged in an amount to be proven at the trial of this matter but in excess than that required

for federal jurisdiction in diversity-of-citizenship cases.

       216.     Vitols's and Westbrook's actions were intentionally pursued for the purpose of

causing damage, Vitals and Westbrook knew or should have known their conduct would naturally

and probably result in damage, and Vitals and Westbrook carried on with malice and in reckless

disregard of the circumstances.

        217.    Vitols's and Westbrook's actions were also affirmative acts of concealment,

fraudulent, furtively planned, and secretly executed to keep Propst' s cause of action concealed.

        218.    In the alternative to paragraph 217, Vitols's and Westbrook's actions were

perpetrated in such a way that they concealed themselves.

               COUNT VI -TORTIOUS INTERFERENCE WITH CONTRACT

        219.    Propst incorporates paragraphs 1 through 218 by reference.

        220.    Through the Propst Agreement, Propst had a valid contractual relationship with

Westbrook.

        221.    Mohammad and Select Sands had knowledge of the Propst Agreement.

        222.    Mohammad and Select Sands intentionally and improperly interfered, induced, and

caused Westbrook's disruption, breach, and termination of the Propst Agreement.

        223.    Mohammad and Select Sands knowingly and willfully engaged in extensive, secret

negotiations with Vito ls to offer him a position on Select Sands' board of directors that would later

lead to a full-time, salaried position as Select Sands' Chief Operating Officer.




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       224.    Mohammad and Select Sands knowingly and willfully invited and enticed Vitals to

accept a position as Select Sands' Chief Operating Officer that created conflicts of interest with

Propst and made Westbrook's performance of the Propst Agreement impossible.

       225.    Mohammad and Select Sands knowingly and willfully invited and enticed Vitals to

accept positions as Select Sands' President and Chief Executive Officer that created conflicts of

interest with Propst and made Westbrook's performance of the Propst Agreement impossible.

       226.




       227.




       228.    As a direct and proximate result of Mohammad's and Select Sands' tortious

interferences with the Propst Agreement, Propst has been damaged in an amount to be proven at

the trial of this matter but in excess than the amount required for federal jurisdiction in diversity-

of-citizenship cases.

       229.    Mohammad's and Select Sands' actions were intentionally pursued for the purpose

of causing damage, Mohammad and Select Sands knew or should have known their conduct would

naturally and probably result in damage, and Mohammad and Select Sands carried on with malice

and in reckless disregard of the circumstances.

       230.    Mohammad and Select Sands' actions were also affirmative acts of concealment,

fraudulent, furtively planned, and secretly executed to keep Propst's cause of action concealed.


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          231.   In the alternative to paragraph 230, Mohammad's and Select Sands' actions were

perpetrated in such a way that they concealed themselves.

   COUNT VII-TORTIOUS INTERFERENCE WITH BUSINESS EXPECTANCIES

          232.   Propst incorporates paragraphs 1 through 231 by reference.

          233.   Propst had valid business expectancies with Hanson, Cemex, and other sand

processors because its property has the necessary lot space and the necessary water, utility, and

railway connections to make up to four additional processing plants operational and economically

viable.

          234.   Mohammad, Select Sands, Vitols, and Westbrook knew that Propst had valid

business expectancies with Hanson, Cemex, and other sand processors.

          235.   Mohammad, Select Sands, Vitols, and Westbrook knew that Propst leased some of

the real property that it owned to American Silica to build a processing plant.

          236.   Mohammad, Select Sands, Vitols, and Westbrook knew American Silica's

processing plant was operational and economically viable.

          237.   Mohammad, Select Sands, Vitols, and Westbrook knew that Propst was actively

engaged in obtaining additional sand-processor lessees for its property.

          238.   Mohammad, Select Sands, Vitols, and Westbrook knew that Propst specifically

contracted with Westbrook to obtain additional sand-processor lessees through Vitols's claimed

extensive contacts in the sand-processing industry.

          239.   Mohammad, Select Sands, Vitols, and Westbrook were aware in June 2015, at the

latest, that Propst's property was superior to other sites in Arkansas that were available to sand

processors, including Ozark Premium Sands'.


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       240.    Mohammad, Select Sands, Vitals, and Westbrook intentionally and improperly

interfered, induced, and caused a disruption and termination of Propst's business expectancies.

       241.    By way of example only, Mohammad, Select Sands, Vitals, and Westbrook

misrepresented to Propst that Select Sands was interested in leasing Propst's remaining property

when, in truth and in fact, they knowingly and willfully endeavored to use these misrepresentations

and Vitols's and Westbrook's relationships with Propst to gain confidential, proprietary

information about Propst's property and business to directly compete with Propst.

       242.    Mohammad, Select Sands, Vitals, and Westbrook also knowingly and willfully

endeavored to use these misrepresentations and Vitols's and Westbrook's relationships with Propst

to prevent Hanson, Cemex, and other sand processors from leasing property from Propst until

Select Sands could acquire competing properties of its own that it would lease to sand processors.

       243.    Mohammad, Select Sands, Vitals, and Westbrook knowingly and willfully

concealed from Propst their secret negotiations to offer Vitals a position on Select Sands' board

of directors that would eventually lead to a full-time salaried position as Select Sands' Chief

Operating Officer.

       244.    Mohammad, Select Sands, Vitals, and Westbrook knowingly and willfully

concealed from Propst Vitols's acceptance of a position as Select Sands' Chief Operating Officer

that created conflicts of interest with Propst that made it impossible for Westbrook to obtain

business from Hanson, Cemex, or any other sand processors.

       245.    Mohammad, Select Sands, Vitals, and Westbrook knowingly and willfully

concealed from Propst Vitols's acceptance of positions as Select Sands' President and Chief




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      Executive Officer that created conflicts of interest with Propst that made it impossible for

      Westbrook to obtain business from Hanson, Cemex, or any other sand processors.

             246.




             247.




             248.    Mohammad, Select Sands, Vitols, and Westbrook knowingly and willfully

      concealed from Propst Vitols's and Westbrook's assistance and participation in the OPS

      Agreement with the specific purpose of allowing Select Sands to become Propst's direct

      competitor.

             249.    Vitols and Westbrook knowingly and willfully misrepresented to Propst, with

      Mohammad's and Select Sands' knowledge and consent, that Vitols and Westbrook were

      performing the Propst Agreement were actively soliciting and negotiating with other sand

      processors when, in truth and in fact, neither Vitols nor Westbrook engaged in any meaningful

      efforts to obtain business for Propst from Hanson, Cemex, or any other sand processors after Vito ls

      accepted a position as Select Sands' Chief Operating Officer.

             250.    As a direct and proximate result of Mohammad's, Select Sands', Vitols's, and

      Westbrook's tortious interferences with Propst's business expectancies, Propst has been damaged


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in an amount to be proven at the trial of this matter but in excess than that required for federal

jurisdiction in diversity-of-citizenship cases.

        251.    Mohammad's, Select Sands', Vitols's, and Westbrook's actions were intentionally

pursued for the purpose of causing damage, they knew or should have known their conduct would

naturally and probably result in damage, and they carried on with malice and in reckless disregard

of the circumstances.

        252.    Mohammad's, Select Sands', Vitols's, and Westbrook's actions were also

affirmative acts of concealment, furtively planned, and secretly executed to keep Propst's cause of

action concealed.

        253.    In the alternative to paragraph 252, Mohammad's, Select Sands', Vitols's, and

Westbrook's actions were perpetrated in such a way that they concealed themselves.

                        COUNT VIII - DECLARATORY JUDGMENT

        254.    Propst incorporates paragraphs 1 through 253 by reference.

        255.    Under Arkansas law, "when performance of a duty under a contract is

contemplated, any nonperformance is a breach [and] the failure of one party to perform his

contractual obligations releases the other party from his obligations." Arkansas Realtors Ass 'n v.

Real Forms, LLC, 2014 Ark. 385, 10,445 S.W.3d 845,852.

        256.    Additionally, "the essential elements of a contract are (1) competent parties, (2)

subject matter, (3) legal consideration, (4) mutual agreement, and (5) mutual obligation." Bank

of the Ozarks, Inc. v. Walker, 2016 Ark. 116, 2,487 S.W.3d 808,810 (emphasis added).

        257.    "[F]ailure of consideration, total or partial, occurs when the consideration is good

and sufficient at the time the agreement is made, by some breach of contract, mistake or accident,


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has afterwards failed." Ozark Diamond Mines Corp. v. Townes, 117 Ark. 552,174 S.W. 151,153

(1915).

          258.   When a contract's consideration fails, the contract is broken. See Puckett v. United

States, 556 U.S. 129, 137 (2009) (citing 23 R. Lord, Williston on Contracts§ 63.1 (4th ed. 2002)).

Accordingly, "[t]he party injured by the breach will generally be entitled to some remedy, which

might include the right to rescind the contract entirely[.]" Id. (citing 23 R. Lord, Williston on

Contracts§ 68.1 (4th ed. 2003)).

          259.   Pursuant to the Propst Agreement, Westbrook "provides consulting, advising,

negotiation, and other services to frac proppant businesses." Ex. 1 at Preamble.

          260.   Pursuant to the Propst Agreement, Propst "desires to engage [Westbrook] and

[Westbrook] desires to be engaged in the provision of certain consulting, advising, negotiation,

and other related services to [Propst]." Ex. 1 at Preamble.

          261.   Pursuant to the Propst Agreement, Westbrook agreed "to advise, negotiate, and

provide other services related to the frac proppant business in and around Lawrence County,

Arkansas, as reasonably requested by Propst (the 'Consulting Services')." Ex. 1 ,r 1.

          262.   And pursuant to the Propst Agreement, Propst agreed to make money payments to

Westbrook "[i]n consideration for providing the Consulting Services[.]" Ex. 1 ,r 2(a), (b).

          263.   For the reasons set forth above in Count III, the Propst Agreement is impossible to

perform because Westbrook cannot direct business from Select Sands, Hanson, Cemex, or any

other sand processor to Propst without breaching Vitols's fiduciary duties to Select Sands -




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       264.    Because the Propst Agreement specifically contemplates Westbrook's provision of

"Consulting Services" as its consideration, and Westbrook cannot now perform the "Consulting

Services" due to Vitols's conflicts of interest

-             the Propst's Agreement's consideration has failed, and Propst is entitled to a

declaratory judgment that the Propst Agreement is rescinded.

       265.    Additionally and for the reasons set forth in Count III, Westbrook breached the

express terms of the Propst Agreement by failing "to advise, negotiate, and provide other services

related to the frac proppant business in and around Lawrence County, Arkansas, as reasonably

requested by [Propst]." Ex. 1 ,r 1.

       266.    Also for the reasons set forth in Count III, Westbrook breached the Propst

Agreement's implied terms of good faith and fair dealing, and the Propst Agreement's implied

terms not to do anything that would prevent, hinder, or delay either its or Propst's performance of

the Propst Agreement. See West Memphis Adolescent Residential, LLC, 2010 Ark. App. 450, at

5,374 S.W.3d at 925.

       267.    Westbrook's breaches of the Propst Agreement were material, because performing

the Propst Agreement's basic objectives as specifically directed by Propst and the Propst

Agreement and preventing blatant conflicts of interest that would make Westbrook's performance

of the Propst Agreement impossible were "essential term[s] or condition[s] that substantially

defeat(ed] the purpose of the [Propst Agreement] for [Propst]." Spann v. Lovett & Co., Ltd., 2012

Ark. App. 107, 21,389 S.W.3d 77, 93.




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        268.   Accordingly and due to these material breaches of the Propst Agreement, Arkansas

law demands that this Court declare the Propst Agreement to be at its end. See Arkansas Realtors

Ass 'n, 2014 Ark. 385, at 10,442 S.W.3d at 852.

       269.    Propst is therefore entitled to a declaratory judgment that Westbrook's breaches of

the Propst Agreement, as more fully described in Count III, were material.

       270.    Propst is also therefore entitled to a declaratory judgment that the Propst Agreement

is now null and void and no longer in full force and effect due to Westbrook's material breaches

of the Propst Agreement.

                                    COUNT IX - REPLEVIN

       271.    Propst incorporates paragraphs 1 through 270 by reference.

       272.    Select Sands and Westbrook are in possession of Propst's property. Specifically,

Select Sands and Westbrook are in possession of business records belonging to Propst, including

but not limited to any Plant/Terminal Lease Agreements. See Affidavit of James F. Propst,

attached hereto and incorporated herein as Exhibit 8, at ,r 2.

       273.    The actual value of Propst's property that is in Select Sands' and Westbrook's

possession cannot be quantified because it is confidential, proprietary, and contains trade secrets.

To the extent that a value is required, Propst estimates that the value of the confidential,

proprietary, and trade-secret information is greater than $1,000,000.00. See Ex. 8 ,r 3.

       274.    Propst is the owner of the property and has a special ownership and interest in the

property because it is confidential, proprietary, and contains trade secrets. See Ex. 8 ,r 4.

       275.    Select Sands and Westbrook have wrongfully detained this property because they

obtained it through material misrepresentations about Select Sands' interest in leasing property


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from Propst when, in truth and in fact, Select Sands and Westbrook endeavored to gain this

confidential, proprietary information from Propst to directly compete with Propst, and to prevent

other sand processors from leasing property owned by Propst until Select Sands could acquire

competing properties of its own that it would lease to sand processors. See Ex. 8 ,r 5.

        276.    Westbrook has wrongfully detained this property because it obtained it through

material misrepresentations that it would assist Propst in obtaining leases from Hanson, Cemex,

and other sand processors when, in truth and in fact, Westbrook endeavored to gain this

confidential, proprietary information from Propst to assist Select Sands in its endeavors to directly

compete with Propst, and to prevent other sand processors from leasing property owned by Propst

until Select Sands could acquire competing properties of its own that it would lease to sand

processors. See Ex. 8 ,r 6.

        277.    Propst's property that is in Select Sands' and Westbrook's possession has not been

taken for a tax or fine against Propst, or under any order or judgment of a court against it, or seized

under an execution or attachment against Propst's property. See Ex. 8 ,r 7.

        278.    Propst's cause of action against Select Sands and Westbrook has accrued within

three (3) years. See Ex. 8 ,r 8.

        279.    In the alternative to paragraph 278, Propst's cause of action against Select Sands

and Westbrook has not accrued within three (3) years, but, instead, has been concealed through

Select Sands and Westbrook's affirmative acts of concealment, furtively planned, and secretly

executed to keep Propst's cause of action concealed, or otherwise perpetrated in such a way that

they concealed themselves. See Ex. 8 ,r 9.




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       280.    Accordingly and for the reasons set forth in this Amended Complaint, the Court

should issue an Order of Delivery directing the Sheriff of Pulaski County, Arkansas, to give Propst

possession of all business records belonging to Propst, including but not limited to any

Plant/Terminal Lease Agreements.

                             COUNT X- PUNITIVE DAMAGES

       281.    Propst incorporates paragraphs I through 280 by reference.

       282.    Select Sands and Westbrook knew or ought to have known, in the light of the

surrounding circumstances, that entering into a conspiracy against Propst would naturally and

probably result in damage to Propst.

       283.    Westbrook knew or ought to have known, in the light of the surrounding

circumstances, that breaching its fiduciary duties to Propst would naturally and probably result in

damage to Propst.

       284.    Vitols and Westbrook knew or ought to have known, in the light of the surrounding

circumstances, that making false representations to Propst, concealing material information from

Propst, and failing to disclose pertinent information to Propst would naturally and probably result

in damage to Propst.

       285.    Mohammad and Select Sands knew or ought to have known, in the light of the

surrounding circumstances, that tortuously interfering with the Propst Agreement would naturally

and probably result in damage to Propst.

       286.    Mohammad, Select Sands, Vitols, and Westbrook knew or ought to have known,

in the light of the surrounding circumstances, that tortuously interfering with Propst's business

expectancies would naturally and probably result in damage to Propst.


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       287.    Notwithstanding the foregoing, Mohammad, Select Sands, Vitols, and Westbrook

intentionally pursued their courses of conduct for the purpose of causing Propst damage.

       288.    Mohammad, Select Sands, Vitols, and Westbrook continued such conduct with

malice and in reckless disregard of the consequences from which malice may be inferred.

       289.    As a direct and proximate result of Mohammad's, Select Sands', Vitols's, and

Westbrook's conduct, an award of punitive damages against each of them is proper.

       WHEREFORE, Propst Properties, LLC prays for:

       (a)     Judgment in Propst Properties, LLC's favor and against Rasool Mohammad, Select

Sands America Corporation, Westbrook Willow, LLC, and Zigurds Vitols,jointly and severally;

       (b)     Compensatory damages in excess of $75,000.00, exclusive of interest and costs;

       (c)     Punitive damages in the greatest amount allowed by law;

       (d)     A declaratory judgment that Propst Properties, LLC's Consulting Agreement with

Westbrook Willow, LLC is null and void, and no longer in full force and effect;

       (e)     An order of delivery directing the Sheriff of Pulaski County, Arkansas, to give

possession of certain property to Propst Properties, LLC;

       (f)     Propst Properties, LLC's attorneys' fees and costs;

       (g)     Pre-judgment and post-judgment interest in the greatest amount allowed by law;

and

       (h)     All other relief to which Propst Properties, LLC is entitled.




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                                                  QUATTLEBAUM, GROOMS & TULL PLLC
                                                  111 Center Street, Suite 1900
                                                  Little Rock, Arkansas 72201
                                                  Telephone: (501) 379-1700
                                                  Facsimile: (501) 379-1701
                                                  E-Mail: mshannon@qgtlaw.com
                                                  E-Mail: jprice@qgtlaw.com
                                                  E-Mail: twyatt@qgtlaw.com



                                                  By:lsl Michael N. Shannon
                                                      Michael N. Shannon, Ark. Bar No. 92168
                                                      Joseph W. Price, II, Ark. Bar No. 2007168
                                                      Thomas H. Wyatt, Ark. Bar No. 2013273

                                                  Attorneys for Propst Properties, LLC

                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 20, 2018, I electronically filed the foregoing with the Clerk of
Court using the AOC eFlex electronic filing system, which shall send electronic notification to the
following:

       W.M. David Duke, Esq.
       Dylan H. Potts, Esq.
       GILL RAGON OWEN, P.A.
       425 West Capitol Avenue, Suite 3800
       Little Rock, Arkansas 72201

       Attorneys for Westbrook Willow, LLC



                                                      Isl Michael N. Shannon
                                                      Michael N. Shannon




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                                                                                              Pulaski County Circuit Court
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                                                                                              C06D06 : 49 Pages
                                   CONSULTANT AGREEMENT

        THIS CONSULTANT AGREEMENT (the "Agnemeot'') is effective this                      7#-  day of
 IU/GtlJ1             ,  2014 (the "Effective Date"), by and between, Propst Properties, LLC, an
Arkansas limited liability company ("Company"), its successors and assigns and affiliates, subsidiaries
and reJated entities, whose address is Et), .Jb(!/£"..8410(~,4? Ut"I..$:' and Westbrook Willow,
LLC, an Arkansas limited liability company, its successors and assigns and affil!Ates, subsidiaries and
related entities (''Consultant"), whose address is3'i, fARA:P 1$ f. fl.. Hor:~J,,4.company and
Consultant are sometimes referred to individually as a ".Party" and' sometimes collectively as the
"Parties."

       WHEREAS, Company jg engaged in the frac sand industty and hosts processors of frac sand and
provides land for reserves offrac sand and/or processing offrac sand.

       WHEREAS, Consultant provides consulting, advising, negotiation, and other services to frac
proppant businesses,

        WHEREAS. Company desires to engage Consultant and Consultant desires to be engaged in the
provision of certain consulting, advising, negotiation, and other related services to the Company.

      NOW THEREFORE, for and. in consideration of the mutual terms and conditions set forth in this
Agreement and other good and vnluab1e consideration, the receipt and sufficieocy of which is
acknowledged by the Parties, the Parties agree as follows:

    1. Services. The Company hereby retains Consu.ltant to a.dvise 1 negotiate, end provide other
services reJated to the frac proppant business in and around Lawrence County, Arkansas, as reasonably
requested b_y Company (the "'Consulting Services").

    2.   Compensation.

    (a) In consideration for providing the Consulting Services, the Company agrees to pay Consultant,
        on a monthly basis, a sum equa1 to $1 SO per hour spent by Consultant in perfot'l.lling the
        Consulting Services; lt being understood by the Parties that at all times during the Agreement, the
        monthly sum paid to Consultant shall be no less than two thousand dollars ($2,000).

    (b) Upon the occurrence of the Company receiving monthly gross income in excess of twenty
        thousand dollars ($20,000), the Parties agree that Consultant shall be paid a ten percent (100/o)
        commission on all gross revenues and income received by Company related to its frac proppant
        business in Lawrence County, Arkansas, as it currently exists or may be modified in the future.
        Upon the occurrence of the events listed in this Section, the payment of sums listed in Sectio1l
        2{a) shall cease. Notwithstanding the foregoing, the Parties agree that if in any given month the
        commission amounts listed in this Section shall be less than $2,000, then the sums for Consulting
        Services listed in Section 2(a) shall be reinstituted such that Consultant shall at no time receive
         less than $2,000 a month from Company. The terms in this Section 2{b) shall survive the
        tem1ination of this Agreement and shall continue to be binding on the Parties and their respective
        successors, assigns, and principals for at least ten (10) years from the onset of the particular
        revenue stream to Company related to its frac proppant business in Lawrence County, Arkansas,
        as it cu1Tently exists or may be modified in the foture. For example, if Comp1111y enters into a
        contract whereby it receives revenue related to its frac proppant business in Lawrence County,
         Arkansas, in year 2 of this Agreement (2015), Consultant shall continue to receive its 10¾
         commission on gross revenues received from such contract until the end of year 12 of this
         Agreement or until at least 2024 if the Agreement is tennina.ted early, as provided herein.
                                                                                                       EXHIBIT

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causes of action of every nature except for  -e
    8. fffllemnification. The parties hereto agree to indemnify and hold harmless one another, and their
respective officers, directors, equity holders, agents and employees frotP and against all liabilities and
                                                    liabilities and causes·of action that might arise as the
result of the gross negligence and/or willful misconduct of the other. If a claim by a third party is made
against Consultant or the Company Parties (the "Indeguufied Party"), and if the Indemnified Party
intends to seek indemnity with respect to sueh claim, the Indemnified Party shall give written notice to the
other Party of such claim promptly after the Indemnified Party becomes aware of such claim. Such notice
shall set forth such infonnation with respect to such claim as is then reasonably available to the
Indemnified Party.

    9. Miscellaneous. This.agreement constitutes the entire understanding of the Parties hereto and may
not be verbally modified. This agreement may only be modified aQd amended pursuant to a written
document that is executed by the parties hereto. The laws of the state of Arkansas shall govern this
Agreement and all litigation arising hereunder shall occur exclusively in Pulaski County, Arkansas. All
provisions contained in this Agreement shall be binding on, inure to the benefit of. and be enforceable by
Company and Consultant, and the permitted ~cessors and assigns of Company and Consultant to the
same extent as if each such successor and Et14ign were named as a party to this Agreement. If any term,
covenant, condition. or provision of this Agteemen~ .or the application thereof to any person or
circumstance, shall ever be held to be invalid or unenfo.-able, it shall be adjusted rather than voided, if
possible, to achieve the intent of the Parties. Any invalidity resulting from the length of a period of time
shall be considered reduced to a period of time, which would cure such invalidity. If adjustment is not
possible, then in each such event the remainder of this Agreement or the application of such term,
covenant, condition or provision to any person or any other circumstance (other than those as to which
has been held invalid or unenforceable) shall not be thereby affected, and each tenn, covenant, condition
and provision hereof shall remain valid and enforceable to the fullest extent permitted by applicable law.


       IN WITNESS WHEREOF, the Parties have executed this Agreement as of the Effective Date
above written.


                                                          COMPANY:




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                                                          CONSULTANT:


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                           $ SELECT SANDS
                                        NEWS RELEASE
                                           Select Sands Corp,
                                     (formerly La Rooge Gold Corp.)
                                    Suite 701-675 West Hastings Street
                                         Vancouver, BC V6B 1N2
                                           Phone: 604 639-4533
                                            Fax: 604 6S5-3765                                             .
           Select Saudi Announces Start of Test Drilling on Arakansas, US, Frac Sand Property and
                           Announces Zig Vito) Joining the Company's Board of Directors
· December 03, 2014 - Vancouver, BC, Canada, - Select Sands Corp. C'Select Sands" or the
  "Company") (TSXV: SNS) is pleased to anno'Unce the start of a drill program on the its Sandtown
  property in Northeast Arkansas, USA. The property is underlain by the Ordovician St. Peter sandstone
  formation, which is the source of 'Northern White' frac sand selling into the major US oil and gas
  play. There are several surface outcrop exposures of the St. Peter sandstone unit on the Property. The
  property is 3.1 miles from a highway, the power line is on the propriety, and the rail line about 14.7 miles
  a.way.
  The phase one/ reconnaissance drill program will test.the depth/ thickness of the sandstone and will
  determine the grade ie mesh sizes of the frac sand. The company will test the properties of ftac sand as
  per the ISO 13503-2:2006/API RP 19C Recommended Practice for MeH.SUrement of Properties of
  Proppants Used in Hydraulic Fracturing and Gravel-packing Operations. These properties include sand
  sphericity and roundness, crush (K Value), acid solubility, turbidity and SiO2% content.
  The company is also pleased to announce that Zigurds R. "Zig" Vitols has jooned the company' board of
  directors,                                                                     ·
  Mr Vitols has been the President, Mid..Sou.th Division of Martin Marietta Material. Martin Marietta, an
  American-based cqmpany and a member of the S&P S00 Index, is a leading 81.Jpplier of aggregates and
  heavy building materials, with operations spanning 32 states, Canada and the Carib~n. Dedicated teams
  at Martin Marietta supply the resources for the roads, sidewalka and foundations, Mr Vitols worked as
  Northeast Regional Manager for W. R. GRACE & Co 1a publicly traded company producing specialty
  chemicals and materials operating in over 40 countries, Mr Vitol has an MBA, International Business
  from Heriot Watt University, Edinburgh, Scotland & Civil Engineering Technology, Mohawk College,
  Hamilton, Canada, MrVitols will \>e replacing Leonard Jaroszulc, who has resigned from the company's
  board. The c9mpany tlutnks Mr Jaroszuk for bis work as a director of the company.
   "Zig will help plan the company nil distn'bution network as per his previous experience with the Union
   Pacific, Burlington Northern Santa Fe, and Kansas City Southern Railroads." Commented the company's
   president Rasool Mohammad "beside logistics & distribution Zig' s other areas of expertise such as Joint
   Ventures, Business Development, Operational Cost Optimization ,Competitive Market Positioning and
   International Responsibilities will help advance Company's frnc sand project Arkansas, US."
   The company is pleased to announce that it will be issuing up w1 million options at 15c at to certain of
   its officers and directors.

  Rasool Mohammad, B.Sc. (Mining), President & CEO

  SELECT SAND CORP.
                                                                                                EXHIBIT
  Phone: (604)639-4533
  Email: rasool@selectsandscorp.com
                                                                                                  2.
  CONFIDENTIAL                                                                             'IM:STBROOK • 000601

  www.selecblandscom.com                                                                      TSX-V:SNS
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           $ SELECT SANDS                                                           I
                                                                       TSX.V: SNS www.selectsandscorp.com


                                                 NEWS RELEASE
                                                SELECT SANDS CORP,
                                           Suite 310- 850 West Hastings Street
                                                 Vancouver, BC V6C 1E1
                                                  Phone: 604 639-4533


                Select' Sands Appoints Zig Vitols as Chief Operations Officer
          July 21, 2015 ~ Vancouver, BC, Canada-Select Sands Corp (TSXV: SNS, OTC: CLICF)
          (the ''Company'~ is pleaaed to announce the appointment of Zig VitoJs as Chief Operations Officer
          of the company.

          Mr. Vitols, a resident in Houston, Tens, has served as the President, Mid-South Division, of Martin
          Marietta Material, Inc. Martin Marietta, a U.S. based company included in the S&P 500 Index, is a
          leading supplier of aggregates and heavy building materials, with operations spanning 32 states, Canada
          and the Caribbean. Mr. Vitols worked as the Northeast Regional Manager for W. R GRACE & Co, a
           publicly traded compan.y whi.ch produces specialty chemicals and materiala and operQies in over 40
          ·cowitries, Mr. Vitals has a Masters oflnternational Business (MBA) from Heriot Watt University,
           Edinburgh, Scotland.


           As C.O.O., Mr. Vitols will be responsible for planning the Company's rail and
           transportation distribution network, manage its logistics & distribution functions, optimize
           operational costs, provide a major role in business development including the negotiations
           of contracts; and generally assist the Company to obtain and increase market share and help
           advance the Company's frac sand project in Arkansas. Mr. Vitols will remain a member of
           the Select Sands' board of directors.

           About Select Sands Corp.

            Select Sands Sandtown property, located in Northeast Arkansas, USA, is W1derlain by the Ordovician St.
          · Peter sandstone formation, the source of •Ottawa White' Tier-1 ftac sand/industrial silica sand selling into
            major US oil and gas basins as well as industrial and speciality end markets. The Sandtown property is

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           www.pe!egsands,;.orp.com                                                                            TSX.V:SNS
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 $ SELECT SANDS                                             TSX.V: SNS    Iwww.selectsandscorp.com
located 3.1 miles from Highway 167, near a natural gas pipeline, has an active power line on the property,
and is about 14.7 mi1es away from the nearest rail system (See Decen1ber 4, 2014 News Release).
Sandtown has a competitive location advantage of 650 rail miles closer to Texas/Louisiana oiVgas plays
and Houston port and industrial hub over Wisconsin sand mines.
AJJ per Tetra Tech of Golden Colorado and Vancouver, BC, Canada recently completed report, 40% of
the Sandtown property contains 22 million tons of Indicated resources of silica sand with a pre,.tax NPV
valued at US $160 million (See June 10,2015 News Release).

The Company also owns high-grade gold deposits in the La Ronge Gold Bel~ northern Saskatchewan.

Cameron Bartsch, M.Sc., P.Geo,, of Tetra Teoh, a Qualified Person    as defined by'National Instrument
43-101, has reviewed d:>.e scientific and technical information disclosed in this News Release.

For more information about Select Sands Corp., plellSC visit www.selectsandscorp.com or contact
Rasool Mohammad, B.Sc. (Mining), President & CEO.
Phone 604-639-4533

Ne{ther TSX Venture Excluutge nor ita Regulation. Services Provider (as that term is defined In the
policies ofthe TSX Venture Exchange) accepts responslbiUty for the adequacy or accur•cy of this
Release.                                                ·

FORWARD-LOOKING INFORMATION

Thia News Release Includes forward-looking Information and statements, which may include, but are not
limited to,. information and statements regarding or irif'erring the future business, operations, financial
performance, prospects, and other plans, intetitlons, expectations, Mtlmates, and beltefe of the Company.
l,iformation and statements which are not purely historical fact are forward-looking statements.
Forward-looking i,iformadon and statements Involve and are- subject to assumptions and known and
unknown risks, uncertainties, and other factors whtch may cause actual events, results, performance, or
achievements of the Company to be matertally different from future events, results, performance, and
achievements expressed or Implied by forward-looking information and statements herein. Although the
Company believes that any forwardwlooking i,iformation and statements herein are reasonable, in light of
the use of assumptions atld the significant risks and un-certalntles inherent In such i,iformatlon and
statements, there can be no assurance that any such forward-looking information and statements will
prove to be accurate, and accordingly readers are advised to rely on their own evaluation of such risks
and uncertainties and should not place undue reUance upon such forward-looking i,ifonnation and
 statements. .A.ny forward-looktng lnfonnatlon and statements herein are made as of the date hereof, and
 except as required by applicable laws, the Company assumes no obligation and disclaims any intention to
 update or revise any forward-looking information and statements herein or to update the reasons that
 actual events or results could or do differ from those projected in any forward looking information and
 statements herein, whether as a result of new lnformatlon1 future events or results, or otherwise, except as
 required by applicable laws.




 www.se1ec:tf9ndscorp,com                                                                            TSX.V:SNS
 CONFIDENTIAL                                                                              WESTBROOK - 000648
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                                       EXHIBIT

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                                                         PagelJ




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8128/2017                                    Se!ect Sands Announces Zigurds "Zig" Vitals as Preside1t & CEO • Select Sands Corp


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    Select Sands Announces Zigurds ·zig· Vitals as President & CEO                                                                       EXHIBIT




       Select Sands Announces Zigurds "Zig' Vitals as President & CEO (http://www.selectsandscorp.c:om/2016/12/23/select-sands-
       announces•zigurds•zig-vitols•president•ceo/)
                                                                                                                                            "
       VANCOUVER, BRITISH COLUMBIA- Dec. 23, 2016 - Select Sands Corp. (''Select Sands" or the "Company") {TSX VENTURE:SNS)(OTCQX:SLSDF)
       today announced that Zigurds "Zig" Vitals, the Company's current Chief Operating Office·, has been appointed President and CEO of the
       Company. Mr, Vitols will be replacing Rasool Mohammad, who will be taking en a new role as Chief Operating Officer of Select Sands and
       President of American Select Corp., a wholly owned U.S. subsidiary of Select Sands. Mr. Mohammad will be moving to Houston, Texas during
       2017 and Mr. Vital$ wm continue to~ 1:/ased lri.Ho.ustoo,

              "The Company is going through a very lmportanuransltlon period as we move towards production. I am very~
              ~ have Zig leading the Company durtng our ne)(t ptiase of growth." commented Rasool Mohammad. "Zlg's skill set
              and uperieme wtn serve the Company well aswe work to achieve full production status In 2017. More lmporta~
              we eontln~to share a ~l'ltslon .of~~CompapY tan itChleve In the coming years:
              "The Company now enters thagperatlonal ~<rflts development and the Board of Oirectt:lrs ha$ assembled a team
              that will continue to guide management In crtticaf Strategies and consequent!)' management will take thoughtful and
              deliberate~ons on Its pathwqJto the next levet" said the new CEO Zig Vitols."Rasool Mohammad has been a key
              dnver th ti)f Q:>n,panys develop!T!ent to this ?Qil'lt and he wfll• con®ve to foc:t':I~ on operattonal capabilities. M&A
              epportunrtlt$ ~nd assembliog a first-rate o~ratlorial team•..The Company wlll maintain Its lnltfative: :of growth in the
              Industrial use markets whlre preparing operations to meet the. rtsurgence of the Oil & Gas sector."



        About Select Sands Corp.

        Select Sands Corp. ls an industrial Silica Product company developing its 100% owned, 520-acre Northern White, Tier-1, silica sands project
        located in Arkansas, U.S.A. Select Sands' goal is to become a key supplier of premium lndustria: silica sand and frac sand to the North Americari
        markets. Select Sands' Arkansas property has a significant logisbcal advantage of being approximately 650 rail-miles closer to oil arid gas
        markets located in Oklahoma, Texas, New Mexico, and Louisiana.




        For more information about Select Sands Corp.,      please visitwww.selectsancscorp.com(http:/fwww.select5andscor;:i.com/).




        Neither TSX Venture Exchange nor its Regulation Services Provider (as that term is defined in the policies of the TSX Venture Exchange)
        accepts responsibility for the adequacy or accuracy of this Release.




        i'()RWARD-LOOKlNG INFORMATION

            This news release includes forward-looking information and statements, which may include, but are not limited to, information and statements
            regarding or inferring the future business, operations, financial performance, prospects, ;;nd other plans, intentions, expectations, estimates,
            Jnd beliefs of the Comp;;ny Such statements include the Company's ability to achieve full production status in 2017. Information and
            state!Tlents which are not purely historical fact are forward-looking statements. Forward-looking information and statements involve and are
            subject to assump rions and known and unknown risks, uncertainties, and other factors which may cause actuai events, results, performance, or
            achievements of the Company to be materially different from future events, results, performance, and achievements expressed or implied by
            forward-looking information and statements herein. Although the Company belleves that any forward-looking Information and statements
            herein are reasonable, in light of the use of assumptions and the significant risks and uncertainties inherenr in such information ;md
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            readers are advised to rely on their own evaluation of such risks and uncertainties and should not place undue reliance upon such forward-

 http://www.selectsandscorp.com/2016/12/23/select•sands•announces-zigurds-zig-vitols-president,.,eo/                                                           i/3
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8/28/2017                                         Select Sands Announces Zlgurds •21g• Vltols as President & CEO - Select Sands Corp
       looking Information and statements. Any fotward-looldng Information and statements herein are made as of the date hereof, and except as
       required by applkable Jaws, the Compar(i assumes no ob/Jgatlon and d/sda/ms any Intention to update or revise lll1Y forward-looking
       Information and statements herein or to update the reasons that actual events or results could or do differ from those projected In any fotward·
       looking Information and statements herein, whether as a result of new lnfonnatJon, future events or results, or otherwise, except as required by
       appllcab/e laws.

       CONlACT INFORMA'TlON
       Select sands Corp,
       Rasool Mohammad, B.SC. (Mining)
       President & CEO
       (604) 639-4S33
       www.selectsandscorp.com(http://WWW.selectsandscorp.com)lnvestor Relations
       Arlen Hansen
       (604) 684-6730
       SNS@klncommunlcatlons.com

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     latest Mews

       Select Sands Reports Second Quarter 2.017 Results (http://www.selectsandscorp.coml2017/08/15/select-sands-reports-second-quarter-2017-resultsl)
       August 1s, 2017
       Select Sands Corporation Schedules Second Quarter 2017 Results Conference Call (http://www.selectsandscorp.com/2017/08/11/sns-schedules-
       second..quarter-2017-results<oference-calll) August 11, 2017
       Select Sands Provides Operations Update (http://WWW,selectsandscorp.com/2017 /06/27/select-sands-provldes-operatlons-updatel) June 27, 2017


 http;//www,selectsandscorp.oom/2018I12/23/select-sands•announces-zigurds-zlg..vttols-presldent-ceo/                                                                                               2/3
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8128/2017                               Select Sands Announces Zlgurds "Zig• Vltols as President & CEO - Select Sands Ccrp
    Contact us
    Selec.t Sands Corp.
    SlHte 3to, 850 w Ha~t1n-gs
    Vancouver, Bi:,
    Canada V6C "I.El

    Phone: -~t 604-639-4533
    Fax: ~l-604-669-1.744
    Emall: lnfo@selectsandscorp.com
    American Select Corp ls a us subsidiary of Select Sands Corp

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              IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                        SIXTII DIVISION

PROPST PROPERTIBS, LLC                                                             PLAINTIFF

v.                                CASE NO. 60CV-17-6345

RASOOL MOHAMMAD; SELECT SANDS
AMERICA CORPORATION;
WESTBROOK WILLOW, LLC; and
ZIGURDS VITOLS                                                                  DEFENDANTS


                             AFFIDAVIT OF JAMES F. PROPST

       I, James F. Propst, having first been duly sworn, state the following:

       1.      My name is James F. Propst. J am over the age of 18 and of sound mind. I have

personal knowledge of the matters stated in this affidavit.

       2.      Select Sands America Corporation ("Select Sands,.) and Westbrook Willow, LLC

("Westbrook") are in possession of business records belonging to Propst Properties, LLC

(''Propst")> including but not limited to any Plan1/Tenninal Lease Agreements.

       3.      The actual value of Propst's property that is in Select Sands' and Westbrook's

possession cannot be quantified because it is conndential, proprietary, and contains trade sec.rets.

To the extent that a value Is required, Propst estimates that the value of the confidential,

proprietary, and trade-secret information is greater than $1,000,000.00.

        4.     Propst is the owner of the property and has a special ownership interest in the

property because it is confidential, proprietary, and contains trade secrets.

        5.      Select Sands and Westbrook have wrongfully detained this property because they

 obtained it through material misrepresentations about Select Sands' interest in leasing property

 from Propst when, in truth and in fact, Select Sands and Westbrook endeavored to gain this

 confidential, proprietary information from Propst to directly compete wilh Propst, and to prevent

                                                                                      EXHIBIT

                                                                                        8
                         -   ------   -------------------------------,

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other sand processors from leasing property owned by Propst until Select Sands could acquire

competing properties of its own that it would lease to sand. processors.

       6.      We..<;tbrook has wrongfully detained this property because it obtained jt through

material misrepresentations that it would assist Propst in obtaining leases from Lehigh Hanson,

Cemex, and other sand processors when, in truth and in fact, Westbrook endeavored to gain this

confidential, proprietary information from Propst to assist Select Sands in its endeavors to

directly compete with Propst, and to prevent other sand processors from leasing property owned

by Propst until Select Sands could acquire competing properties of its own. that it would lease to

sand processors.

       7.      Propst's property that is in Select Sands' and Westbrook's possession has not
been taken for a tax or fine against Propst. or llll.der any order or judgment of a court against it, or

seized under an execution or attachment against Propst's property,

        8.      Propst's cause of action for replevin against Select Sands and Westbrook has

accrued. within the last three (3) years.

        9.      Propst' s cause of action for replevin against Select Sands and Westbrook has been

concealed through Select Sands' and Westbrook's affinnative acts of concealment, furtively

planned. and secretly executed to keep Propst's cause of action concealed, or otherwise

perpetrated in such a way that they concealed themselves.




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          FURTHER THE AFFIANT SA VETH NOT.




STATE OF ARKANSAS                                                              )
                                                                               )
COUNTY OF PULASKI                                                              )

          Acknowledged before me this 20th day of July, 2018.




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Notary Public

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